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U.S. DISTRICT COURT
STRICT OF MAINE
PORTLAND

b
UNITED STATES DISTRICT COURT RECENVED & FILED
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UNITED STATES OF AMERICA )
)
v. } Crim. No. 2:19-cr- 1 452 HB SLERK

)

STEVEN HARDY )

AGREEMENT TO PLEAD GUILTY
(WITH STIPULATIONS AND APPEAL WAIVER)

The United States of America, by and through Halsey B. Frank, United States Attorney
for the District of Maine, and Daniel J. Perry, Assistant United States Attorney, and Steven
Hardy (hereinafter "Defendant"), acting for himself and through his counsel, John Webb,
Esquire, enter into the following Agreement based upon the promises and understandings set
forth below.

1. Guilty Plea. Defendant agrees to plead guilty to Counts One, Two, and Four of
the Superseding Indictment pursuant to Rule 11 of the Federal Rules of Criminal Procedure (Fed.
R. Crim. P.). Count One charges Defendant with conspiracy to commit a Hobbs Act robbery, in
violation of Title 18, United States Code, Section 1951(a). Count Two charges Defendant with
a Hobbs Act robbery, in violation of Title 18, United States Code, Section 1951(a). Count Four
charges the Defendant with using a firearm during and in furtherance of a crime of violence, in
violation of 18, United States Code, Section 924(c).

2. Sentencing/Penalties. Defendant agrees to be sentenced on the charges described
above. Defendant understands that the penalties that are applicable to each count are as follows:

A. Count One and Count Two (for each Count)

1. A maximum prison term of 20 years;
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2. A maximum fine of $250,000;
Count Four

3. A term of imprisonment of no less than ten years and maximum prison
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4. A maximum fine of $250,000; 9
B.. | A mandatory special assessment of $100.00 for each count of conviction which J
Defendant agrees to pay at or before the time that he enters a guilty plea; and

C. A term of supervised release of not more than three years on each of Count One
and Count Two and a term of supervised release of not more than five years on
Count Four. Defendant understands that his failure to comply with any of the
conditions of supervised release may result in revocation of supervised release,
requiring Defendant to serve up to two additional years in prison for any such
revocation of supervised release on Count One or Count Two and three additional
years in prison for any such revocation of supervised release on Count Four,
pursuant to 18 U.S.C. § 3583.

D. In addition to the other penalties provided by law, the Court must also order the
Defendant to pay restitution to the victim or victims of the offense, pursuant to 18
U.S.C. § 3663 or §3663A.

3. Agreements Regarding Sentencing. The parties agree to make the following non-

binding recommendations as to sentencing:

A, On Counts One and Two, the Government agrees to recommend a sentence at the
low end of the applicable Guideline sentencing range. The Defendant may

recommend any lawful sentence on Counts One and Two.

B. The parties agree to recommend that the victim sustained a bodily injury under
§2B3.1(b)(3).

C. The Government agrees to recommend that no enhancement should be applied
pursuant to §2B3.1(b)(4).

D. The parties agree to recommend a ten year term of imprisonment on Count Four,
consecutive to any sentence imposed on Counts One and Two, pursuant to Title
18, United States Code, Section 924(c)(1)(A)(iii).
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E. The parties agree to recommend that the Court find that the Defendant has
accepted responsibility for the offense of conviction, and that the Court should
reduce the Defendant’s Adjusted Offense Level pursuant to U.S.S.G. § 3EI.1.
The Government reserves the right not to recommend a reduction under U.S.S.G.
§ 3E1.1 if, at any time between his execution of this Agreement and sentencing,
Defendant: (a) fails to admit a complete factual basis for the plea; (b) fails to
truthfully admit his conduct in the offense of conviction; (c) engages in conduct
which results in an adjustment under U.S.S.G, § 3C1.1; (d} falsely denies or
frivolously contests relevant conduct for which the Defendant is accountable
under U.S.S.G. § 1B1.3 or previous convictions that the defendant has sustained;
or (e) engages in new criminal conduct. Defendant understands that he may not
withdraw the guilty plea if, for any of the reasons listed above, the Government
does not recommend that he receive a reduction in Offense Level for acceptance
of responsibility.

The parties expressly agree and understand that should the Court reject any of these
recommendations of the parties, Defendant will not thereby be permitted to withdraw his plea of
guilty. The parties agree and understand that the Court has the discretion to impose any lawful
sentence.

4, Appeal Waivers. Defendant is aware that Title 18, United States Code, Section

3742 affords a defendant the right to appeal the sentence imposed. Knowing that, Defendant
waives the right to appeal the following:

A. Defendant’s guilty plea and any other aspect of Defendant’s conviction in the
above-captioned case; and

B. A sentence of imprisonment that does not exceed 204 months.
Defendant’s waiver of his right to appeal shall not apply to appeals based on a right that has been
newly recognized by the Supreme Court and made retroactively applicabte to cases on collateral
review,

The number of months mentioned in this paragraph does not necessarily constitute an

estimate of the sentence that the parties expect will be imposed.
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5. Consequences of Breach. If Defendant violates or fails to perform any
obligations under this Agreement (“a breach”), the United States will be released from its
obligations hereunder and may fully prosecute Defendant on all criminal charges that can be
brought against Defendant. With respect to such a prosecution:

A. The United States may use any statement that Defendant made pursuant to this
Agreement, including statements made during plea discussions and plea
colloquies, and the fact that Defendant pleaded guilty, and Defendant hereby
waives any claim under Rule 410 of the Federal Rules of Evidence or Rule 1 1(f)
of the Federal Rules of Criminal Procedure that such statements and guilty plea
are inadmissible.

B. Defendant waives any and all defenses based on the statute of limitations with
respect to any such prosecution that is not time-barred on the date that this
Agreement is signed by the parties.

If the United States chooses to exercise its rights under this paragraph, the determination of
whether Defendant has committed a breach shall be made by the Court upon an appropriate
motion. In a proceeding on such motion, the United States shall have the burden to establish
Defendant’s breach by a preponderance of the evidence.

6. Speedy Trial Waiver. Defendant agrees to waive, and hereby does waive, any and
all rights he might have under the Speedy Trial Act, 18 U.S.C. §§ 3161-64, from the date of the
execution of this Agreement and continuing thereafter through and including the date upon
which sentence is imposed. In the event that the Court determines that Defendant has breached
this Agreement, as set forth in Paragraph 5 of this Agreement, then the waiver described in this
Paragraph shall continue through and including the date on which the Court determines that such

a breach has occurred. Defendant expressly consents to the entry of an Order by the Court

excluding such periods of time from such consideration.
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7. Forfeiture. Defendant agrees to waive any claim to, and assist the United States
in effecting the forfeiture or other transfer of, any property that may be subject to forfeiture to the
United States under any law of the United States including, but not limited to, a money judgment
representing the amount of proceeds Defendant received as a result of the commission of the
above offense.

8. Validity of Other Agreements; Signature. This Agreement supersedes any prior
understandings, promises, or conditions between this Office and Defendant. However, in the
event that Defendant fails to enter his guilty plea or is allowed to withdraw his guilty plea
entered hereunder, and the Court determines that Defendant has not breached this Agreement,
then any proffer agreement between the parties shall remain in effect. No additional
understandings, promises, or conditions will be entered into unless in writing and signed by all
parties. The signature of Defendant in the space designated signifies his full and voluntary
acceptance of this Agreement.

I have read this Agreement and have carefully reviewed every part of it. I understand it

and I have voluntarily agreed to it.
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Date: _ 2 Kx u ; eg
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I am legal counsel for Steven Hardy. I have carefully reviewed every part of this
Agreement with Steven Hardy. To my knowled ven Hardy’s decision to enter into this
Agreement is an informed and voluntary one.

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FOR THE UNITED STATES: Halsey B. Frank
United States Attorney

    

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Daniel J. Perry / a
Assistant U.S. Attorney i/

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